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Table 2.2: Estimated numbers of private wells with MTBE detections above particular concentration
thresholds and the estimated population served by those wells.

                                     Number of                          Estimated # of
               MTBE                    PWTA             MTBE                Private          Estimated
           Concentration             Wells with       Detection           Wells with        Population
              Range*                 Detections       Frequency         Detections***       Served****
                                          **
               >=70                      46              0.05%                217                537
             >=10 ppb                    384             0.45%               1,809              4,480
             >=5 ppb                     838             0.99%               3,948              9,776
              >=1 ppb                   4,108            4.84%              19,355             47,924
             >=0.5 ppb                 6,590             7.76%              31,049            76,880
       At Any Concentration            11,442           13.48%              53,909            133,484
       Total Wells Sampled             84,898
* MTBE concentrations detected range from 0.01 to 1,500 ppb.
**2011 PWTA database.
***Estimates based on an estimated 400,000 private water wells (Judy Louis, NJDEP Office of Science,
2009).
**** Based on an estimated 2.48 people per household.

2.1.2 MTBE in the United States
Widespread use of MTBE at high volumes in gasoline began in 1992 with the federally mandated seasonal
use of oxygenates in other parts of the country. Within a few years, MTBE was detected in water resources
across the country (Squillace et al., 1996; NESCAUM, 1999; Squillace et al., 1999). An early study by the
United States Geological Survey (USGS) National Water Quality Assessment Program (NAWQA) found
that by 1995, MTBE was the second most frequently detected volatile organic compound (VOC) in shallow
urban groundwater wells in the U.S. (USGS, 1995). At about the same time, MTBE was detected in two of
the five operating Charnock Sub-basin public water supply (PWS) wells owned by the City of Santa
Monica, California. These five wells supplied approximately 45% of the City’s drinking water at the time
(Happel, 2003). By June 1996, all five PWS wells were shut down due to persistent and increasing MTBE
concentrations [California Department of Health Services water quality database (CDHS database),
September, 2003]. Meanwhile, in 1996 MTBE was also detected in PWS wells located in the South Tahoe
Basin. Eventually, 12 out of the South Tahoe Public Utilities District’s then 33 producing wells would be
shut down due to MTBE impacts (South Tahoe Public Utilities District, personal communication, 2006).

All the while, MTBE use and production was on the rise (Figure 2.4). Its use increased further when the
year-round use of oxygenates was federally mandated in 1995. By 1998, MTBE ranked fourth in
production volume among organic chemicals (Clawges et al., 2001; Johnson et al., 2000).




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Figure 2.4. Production for MTBE and other organic chemicals in the U.S. Note that
MTBE production has increased approximately 500 times since the 1970s. In 1998
MTBE ranked fourth in production volume among organic chemicals (from U.S.G.S. Fact
Sheet FS-064-01; Clawges, 2001).

In California, within a few years, MTBE had been detected at more than 4,000 leaking underground fuel
tank (LUFT) sites more than 50% of which were located within 0.5 mile (800 meters) of a public drinking
water well. Further, data from nearly 10,000 additional LUFT sites were still unavailable, leading to an
estimate of 6,700 MTBE plumes within 0.5 mile of a public drinking water well (Happel et al., 1999). For
example, Figure 2.5 shows the collocation of public drinking water wells and LUFT sites in the Los
Angeles Basin, California in early 1999. This collocation is typical for urban areas that rely on local
groundwater as a source of drinking water.

Other states were experiencing similar MTBE impacts. In New York, a few years after its introduction into
gasoline at high volumes and on a wide scale, a focused study conducted by the New York Department of
Environmental Conservation (NY. DEC) found that MTBE had been detected in groundwater at 32% of
5,262 gasoline remediation sites surveyed (NY. DEC, 2000). The survey results also indicated that 47
public wells and 866 private wells had been impacted by MTBE.




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The fast spread of MTBE into groundwater was cause for alarm, leading scientific panels, communities,
states, and federal agencies to recommend limiting or phasing out its use in gasoline:

      •   In the 1998 University of California (U.C.) Report to the Governor of California, U.C. scientists
          including myself recommended the phase out of MTBE over an interval of several years (Fogg et
          al., 1998b).

      •   In 1999, The U.S. Environmental Protection Agency (USEPA) Blue Ribbon panel on Oxygenates
          in Gasoline “agreed broadly that, in order to minimize current and future threats to drinking water,
          the use of MTBE should be reduced substantially. Several members believed that the use of
          MTBE should be phased out completely” (Report of the Blue Ribbon Panel on oxygenates in
          gasoline, Executive Summary and Recommendations, July 1999).

      •   The Northeast States for Coordinated Air Use Management (NESCAUM, 1999) recommended a
          “Three year phase down and cap on MTBE in all gasoline” citing several reasons, including:
          “MTBE is now one of the most commonly detected VOCs in Northeast drinking water supplies.”

      •   By June of 1999, Maine, New Hampshire and Connecticut had taken action to either opt out of the
          Federal Reformulated Gasoline (RFG) Program, or to seek ways to reduce the use of MTBE in
          gasoline (NESCAUM, 1999).

      •   In May of 2000, New York Governor George Pataki signed a bill to ban MTBE use in the state of
          New York5.

      •   In March 2001, the Private Well Testing Act was signed into law, making New Jersey the only
          state in the Nation to require “mandatory statewide private well testing upon the sale of a house”
          (NJDEP, 2004).

      •   In 2005, the New Jersey State Legislature issued a ban on the sale of gasoline containing more
          than 0.5% MTBE, effective January 20096. As of August 2007, a total of 22 States had passed
          legislation that would ban MTBE7.

      •   Similar actions were being taken around the world. For example, in April 2000, the Danish
          Environmental Protection Agency added MTBE to its list of undesirable substances (Report to the
          European Commission, 2001). In Australia, legislation was passed to limit the concentration of
          MTBE in gasoline to 1% by volume starting January 1, 2004 (Bellamy et al., 2003). In Canada,
          the decision to stop adding MTBE to gasoline was taken by the refining companies: “The
          Canadian Petroleum Products Institute (CPPI) representing most Canadian refiners has indicated

5
    New York passes MTBE ban, National Petroleum News, July, 2000.
6
    http://www.state.nj.us/dep/dsr/mtbe/mtbe-report.htm last accessed October 30, 2012.
7
    Data available at www.epa.gov/mtbe/420b07013.pdf; accessed 6/24/10.


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        that its member companies ceased adding MTBE to gasoline by the end of 2001 and that none
        have the intention of using MTBE in the future” (Bellamy et al., 2003).

In 2000, a group of scientists and engineers including some from the Oregon Graduate Institute and the
United States Geological Survey (USGS) summarized well the reason MTBE stands out among the many
contaminants in gasoline (Johnson et al., 2000):

        “If MTBE behaved like the gasoline hydrocarbons in all respects, the scale of its use
        would not by itself be a reason for concern. After all, the current numbers for gasoline
        production in the United Sates are about 40 times larger than those for MTBE, and
        385,000 known releases of gasoline have already occurred at LUFT [leaking underground
        fuel tank] sites. Unfortunately, MTBE is very soluble in water and is therefore very
        mobile in groundwater systems. And, the absence of any carbon branches more than one
        carbon long on the MTBE molecule make MTBE very resistant to biodegradation. Thus,
        like the chlorinated solvent compounds [trichloroethylene] TCE and [perchloroethylene]
        PCE, MTBE has been found to persist in groundwater, and cases of MTBE plumes
        extending kilometer-scale distances in the subsurface have now been documented (e.g.,
        Port Hueneme, CA; East Patchogue, NY; Spring Creek, WI; and Vandenberg AFB, CA)”
        (see Figure 2.6).

By 2001, the spread of MTBE in the environment was characterized as: “a water resources disaster of
national magnitude” (Jacobs et al., 2001).




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Figure 2.6. The MTBE Plume at Port Hueneme, California, resulting from a leaking
underground fuel tank is plotted against the corresponding Benzene, Toluene, Ethyl-
benzene, and Xylene (BTEX components of gasoline) plume demonstrating that the
unique transport properties of MTBE lead to large, high concentration plumes
(MTBE2000 Team, 1999).

In what follows, I review the scope of and the science behind the MTBE problem. Specifically, the
nation’s, and New Jersey’s, reliance on groundwater; the processes governing the transport of MTBE in
groundwater; remediation and natural attenuation of MTBE in groundwater; the occurrence of MTBE in
groundwater in the U.S. in general and in New Jersey in particular; and the potential impacts to
groundwater from ethanol addition to gasoline. I also summarize details on the ten Trial Sites at issue in
this case, specifically with regards to the hydrogeology, the contamination history, and the impacts to
groundwater.




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3        Groundwater
“Ground water is one of the Nation’s most important natural resources. It provides about 40 percent of the
Nation’s public water supply. In addition, more than 40 million people, including most of the rural
population, supply their own drinking water from domestic wells. As a result, ground water is an important
source of drinking water in every State” (Alley et al., 1999). The population of the U.S. is expected to grow
over the coming years, increasing the demand for groundwater.

Groundwater quality is particularly vulnerable to contaminants that persist, or fail to degrade at appreciable
rates, such as MTBE. Because groundwater moves slowly, once persistent contamination is allowed to
enter groundwater, it can render the water unusable for decades to centuries unless costly and time-
consuming remediation, or expensive treatment is undertaken. Research shows that “Subsurface
contamination has the potential to threaten local CWS [community water supply] wells for tens to hundreds
of years” (Johnson et al., 2000; Weissmann et al., 2002).


3.1      Groundwater and Aquifers
Water in the subsurface fills the voids between unconsolidated soil and sediment particles, or in rock
fractures. Water can reside in the unsaturated zone (above the water table where both water and air fill the
voids) or in the saturated zone (below the water table where only water fills the voids); water in the
saturated zone is referred to as groundwater.

The nation’s major aquifers are generally composed of either unconsolidated sands and gravels (such as the
aquifers of the Coastal Plain of New Jersey), in which groundwater flows relatively easily, inter-bedded
with clays and silts that are less permeable to water, or consolidated rocks (e.g., sandstone, mudstone,
shale, and crystalline rock, typical of the aquifers in northern New Jersey). In unconsolidated and
consolidated sedimentary groundwater systems, the typically complex geometry of sedimentary deposits,
and their ability to transmit water, leads to vastly different rates of flow in sands and gravels as compared
to adjacent clays and silts. Similarly, in consolidated hard rock groundwater systems, fractures of various
geometries and varying degrees of connection form pathways for water that flows at differential rates. At
the same time, the rock itself is porous, but does not transmit water easily.

3.1.1 Groundwater Use
The distribution and use of groundwater varies widely both among and within States (Figure 3.1). Its use
not only varies in space, but also in time. In dry years, groundwater consumption can increase. In New
Jersey, it is estimated that on average, groundwater accounts for 31% of the State’s total water supply
(NGWA, 2012). The rest is supplied by surface water systems. The number of different water systems
(public and private), using groundwater, and the communities served by those systems, are summarized in
Table 3.1 below.




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Table 3.1: Groundwater use in the State of New Jersey by system and population served. Data
for public supply wells obtained from NGWA (2012), and data for domestic supply wells
obtained from Louis (2012).
Type of System                      Number of systems                Population served
Community Water System                      473                          2,643,847
(CWS)
Non-community, non-                         772                           350,281
transient system
Non-community, transient                   2,503                          428,677
Domestic wells                            400,000                        1,130,000




Figure 3.1. Estimated percentage of population in each State using groundwater as a
source of drinking water in 1995 (from Alley et al., 1999).




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3.1.2 Groundwater Recharge and Discharge
Groundwater moves through the subsurface from areas where water enters or recharges, the aquifer system,
to areas where it exits, or discharges from, the aquifer system (Figure 3.2). Groundwater is recharged by
percolation of water through the land surface and by inflow from surface water such as streams and lakes.
Groundwater can also discharge naturally to surface water and springs. Pumping wells are also discharge
locations. In many aquifers that are heavily pumped, wells may be the only discharge locations.


3.2 The Physiographic Regions of New Jersey
The geologic processes that formed the landscape of New Jersey have resulted in distinctive landforms that
can be divided into four regions, commonly referred to as Physiographic Provinces8 (Dalton, 2003). The
regions within each Province share similar geologic features and climate that are different from those in the
neighboring provinces. The main physiographic provinces in New Jersey are (see Figure 3.3):
     -   Valley and Ridge
     -   Highlands
     -   Piedmont
     -   Coastal Plain




Figure 3.2. Illustration of the water cycle including groundwater recharge (illustration from John Evans,
USGS, http://ga.water.usgs.gov/edu/watercycle.html).

8
 http://www.state.nj.us/dep/njgs/enviroed/infocirc/provinces.pdf last accessed on October 28,
2012.

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The Valley and Ridge, Highlands, and Piedmont, together, are known as the Appalachian Highland, while
the Coastal Plain is known as the Atlantic Slope. Aquifers in the Appalachian highlands tend to be more
commonly fractured bedrock with overburden on
top, whereas the Coastal Plain is characterized by aquifers composed of unconsolidated materials (sands,
gravels and silts) for the most part. A more detailed description of the geologic formations that formed
those distinct Provinces is given below:


The Valley and Ridge Province
This is the smallest of the provinces in the northern most part of the State and includes major portions of
Sussex and Warren counties. The Province “is characterized by steep-sided, linear ridges and broad valleys.
It is underlain by folded and faulted Paleozoic sedimentary rocks of Cambrian to Middle Devonian age
(540 to 374 million years old) and minor amount of earliest Silurian-aged igneous rocks” (Dalton, 2003).




The Highlands Province
Slightly larger in size than the Valley and Ridge Province, this mountainous region is characterized by
“rugged topography”, with “discontinuous rounded ridges separated by deep narrow valleys” (Dalton,
2003). This province is “mainly underlain by highly metamorphosed igneous and sedimentary rocks of
Middle Proterozoic age (1.2 billion to about 900 million years old)” (Dalton, 2003). At the southern side,
the “boundary with the Piedmont Province is placed at the base of the Highlands where the crystalline
rocks are in contact with significantly younger sedimentary and igneous rocks. Starting at the New York
border the boundary follows the Ramapo Fault southwest to just south of Peapack. It then alternately
follows the contact between the Precambrian crystalline rocks and the Cambrian sediments and various
segments of the border fault to the Delaware River” (Dalton, 2003).


The Piedmont Province
This region accounts for approximately one-fifth of area of the state. The area is characterized by “low
rolling plain divided by a series of higher ridges” (Dalton, 2003). The Province is “mainly underlain by
slightly folded and faulted sedimentary rocks of Triassic and Jurassic age (240 to 140 million years old)
and igneous rocks of Jurassic age. Highly folded and faulted lower Paleozoic sedimentary rocks along the
northwestern margin in the Clinton and Peapack areas, as well as at several smaller areas are included as
part of the Piedmont. In the Trenton and Jersey City areas, along the southern margin of the province, there
are small bands of highly metamorphosed rocks ranging in age from Middle Proterozoic to Cambrian that
are also included” (Dalton, 2003).


The Coastal Plain


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The largest of the provinces, accountin
                              accounting
                                       g for three fifths of the area of the State. The province is
characterized by unconsolidated deposits that “dip gently to the southeast and range in age from the upper
Lower Cretaceous to the Miocene (90 to 10 million years old)” (Dalton, 2003). The boundary between the
Piedmont and the Coastal Plain Provinces (where the rock units of the Piedmont meet the unconsolidated
sediments of the Coastal Plain) is known as the Fall Line, because it is “marked by a series of falls and
rapids all along the East Coast” (Dalton, 2003).
The MTBE contamination sites at issue in this case (the Trial Sites) are located across the State and cover
all, but the Valley and Ridges Province.




Figure 3.2. The Physiographic Provinces of the State of New Jersey from Dalton, 2003.


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3.3      Water Supply Wells
Water supply wells are commonly constructed with a long pipe (casing) that penetrates sediments or
fractured rocks below the water table (see Harter, 2003 for further information). Slots in the casing,
referred to as a well screen, allow groundwater to move through the aquifer(s) and into the well. Typically
the well screen is surrounded by a sand or gravel pack during installation. Precautions in well construction
are commonly taken to prevent the downward flow of water into the aquifer from locations above the
screened interval. Supply well screens are typically long, intersecting a range of sediments that derive water
from various recharge locations. Pumping water from a well will continually move water from recharge
locations, through sediments, and to the well.

In New Jersey, wells can be quite shallow, or very deep. In 2002, the reported range of depth of
groundwater wells ranged from 15 feet to 1,9849. Shallower wells are more vulnerable to contamination
because of shorter flow paths.

3.3.1 Groundwater Age
“[Groundwater] velocities under typical hydraulic gradients can range from a few millimeters per year to a
meter per day” (Squillace et al., 1998). As such, travel times from recharge locations to discharge locations,
such as an individual supply well, commonly range from years to centuries (e.g., Fogg et al., 1998a;
Johnson et al., 2000). The time a ‘packet’ of water spends in the groundwater is referred to as its age.
Although groundwater ages are commonly expressed as average values, water pumped from a well is
derived from a mix of different recharge locations resulting in a mix of different ages (times of travel to the
well) in any given sample (e.g., Busenberg and Plummer, 1992; Fogg et al., 1998a; Weissmann et al.,
2002; Bethke and Johnson, 2002). Additionally, supply wells will commonly draw a significant fraction of
older water (Fogg et al., 1998a; Weissmann et al., 2002). Therefore, it would not be surprising, for
example, to find groundwater with an average age of 50 years resulting from a mix of waters that range
from tens to hundreds of years in age.

3.3.2 Vulnerability to Contamination
The vulnerability of a water supply well to contamination depends upon the travel time from contaminant
source areas to the well screen, which in turn, depends in part upon hydrologic conditions, well placement,
well construction, and pumping rate. As a general rule, shallow groundwater is more vulnerable to
contamination than deep groundwater, due to its proximity to the land surface, and therefore contaminant
source areas. Poor well construction can result in rapid pathways for flow of shallow groundwater down a
high-permeability gravel pack, increasing the vulnerability of both the aquifer and the well to
contamination. Private wells are generally more susceptible to contamination than public wells, as they
tend to be shallower and of poorer construction with regards to minimizing contamination (Happel et al.,


9
 From Source Water Assessment Program (SWAP) http://www.nj.gov/dep/swap/faq.htm last
accessed

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1998).

The aquifer systems of New Jersey are generally vulnerable to contamination. A study by the Northeast
States for Coordinated Air Use Management (NESCAUM, 1999) on the occurrence of MTBE in the
NESCAUM region noted that:
         “Aquifers in the coastal plain of southern New Jersey are composed of unconsolidated sand and
         gravel aquifers. The surficial aquifers are highly vulnerable to contamination due to their
         permeability and direct hydraulic connection with the surface. There are also deeper lying
         confined aquifers beneath the surficial aquifers. The deeper aquifers are generally less susceptible
         to contamination but there may be locations where the aquifer outcrops at the surface, forming
         recharge areas that provide potential points of contamination. In northern New Jersey, fractured
         bedrock aquifers are more common. The aquifer types differ in geology (sandstones, mudstones,
         shales, crystalline bedrock), which will result in differences in geochemistry, degree of fracturing,
         and other physical characteristics. In general, however, the different types of fractured bedrock
         aquifers are all vulnerable to contamination, especially at shallower depths near the surface.
         Another type of aquifer in northern New Jersey was formed by the retreat of glaciers. These
         “valley-filled” aquifers are generally comprised of unconsolidated gravel, sand, or silt deposits
         that are highly permeable and susceptible to contamination from the surface”

The vulnerability of the Trial Sites is addressed below in section 4 of this report.




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4. The New Jersey Trial Sites
In this section I review information obtained from the ten Trial Sites in New Jersey. Based on information
gathered so far, the patterns observed at these sites, especially with regards to MTBE and TBA, are
consistent with many others observed across the nation. At several of the sites, as I discuss herein,
contamination is only discovered after a receptor has been impacted, or during tank closure operations.
Often, the sites have multiple releases and unknown volumes of fuel released. Because site
characterization, monitoring, and remediation most often do not start immediately after the release occurs,
the plumes tend to migrate offsite and are difficult to delineate. Furthermore, the monitoring network tends
to be shallow or limited to the site, and as such, vertical and horizontal delineation of plume extent may not
be complete. MTBE, being more mobile and persistent than other gasoline components, tends to travel
farther than the other contaminants at these sites, impacting larger volumes of water.

The SDWIS and PWTA data discussed previously can be used to assess the relative vulnerability of the
regions occupied by sites. Figures 4.1 and 4.2 plot detections of MTBE at or above 1.0 ppb in the states
public water supply systems and private wells tested for MTBE, respectively, against the physiographic
provinces of the state. The data are summarized in Tables 4.1 and 4.2 showing the relative detection
frequencies (percent of wells tested with detections) by province. The detections frequencies are a function
of the collocation of MTBE sites and wells and the hydrogeologic characterics of the region. These data
can be referred to in assessing the relative vulnerability of the regions in which the trial sites are located.

Below is a summary of some of the details of contamination at each of the ten sites. The locations of these
sites, in relation to the counties of New Jersey, can be seen in Figure 4.3. This summary is based on
information available to me at this time. Based on this information, it is clear that MTBE has impacted the
underlying aquifers at each of the ten sites, and has impacted drinking water supplies at several of them.
Remediation (primarily groundwater extraction and or soil vapor extraction employed at some of the sites)
can remove some of the contaminant mass near the release source. However, contamination mass not
captured by remediation is free to travel with groundwater and is likely to impact other nearby receptors as
it travels away from the source.




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Figure 4.1. Public water supply systems with detections at or above 1.0 ppb plotted against provinces in
New Jersey. Data are from the state's SDWIS database.




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Figure 4.2. Private wells with detections at or above 1.0 ppb plotted against provinces in New Jersey. Data
are from the state's June, 2011 PWTA database.




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Table 4.1: Detection frequencies of MTBE in public water supply systems by province.
                           # of Systems          # of Systems with            # of Systems with
     PROVINCE                Sampled                 detection                detection >= 1 ppb
 Coastal Plain                  889                 210 (23.6%)                  145 (16.3%)
 Piedmont                       387                 114 (29.5%)                   63 (16.3%)
 Highlands                      460                 199 (43.3%)                  139 (30.2%)
 Valley and Ridge               165                  47 (28.5%)                   30 (18.2%)
        Total                  1901                 570 (30.0%)                  377 (19.8%)


Table 4.2: Detection frequencies of MTBE in private wells by province.
                            # of Wells            # of Wells with             # of Wells with
     PROVINCE                Sampled                 detection               detection >= 1 ppb
 Coastal Plain                42,964               7,520 (17.5%)                2,654 (6.2%)
 Piedmont                     16,205                826 (5.1%)                   260 (1.6%)
 Highlands                    19,131               2,677 (14.0%)                1,044 (5.5%)
 Valley and Ridge             6,226                 383 (6.2%)                   130 (2.1%)
        Total                 84,526              11,406 (13.5%)                4,088 (4.8%)


As will be explained in detail in the following chapter, without significant biodegradation, MTBE
attenuation in groundwater is generally poor (see Chapter 6 for details). To my knowledge, there was no
documented evidence of biodegradation of MTBE or TBA at any of the ten Trial Sites in New Jersey.
Without biodegradation, MTBE (and TBA) mass will persist and continue to move with the groundwater to
impact large volumes of water for many years to come.

4.1 TS#1 Skyline
The site is located at 236 Skyline Drive Ringwood, in Passaic County. The surrounding topography is
“characterized by gently rolling terrain.” The site is located along a steep slope, with residential property
down gradient from the site, and Skyline Lakes located approximately 0.3 miles to the west of it.

Geology and Hydrology: The geology of the site is characterized by stratified glacial drift overlying
fractured metamorphic rock. The overburden is estimated at 10 to 20 feet in thickness and contains sands
and gravels with varying amounts of silts. Groundwater is shallow, somewhere between 7 and 12 feet
below ground surface (bgs) based on monitoring well records dating back to 199810. Groundwater in the
shallow overburden flows in a southerly direction towards High Mountain Brook, which discharges into
Upper Skyline Lake. In the bedrock, the water level in monitoring wells offsite ranges from 1 to 34 feet bgs
(Louis Berger Group, 2011).

Groundwater flow in the bedrock appears to follow a similar direction to that in the overburden, south


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     The Louis Berger Group (2009b) report.

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towards High Mountain Brook and Upper Skyline Lake (Louis Berger Group, 2011). However, because of
the nature of fracture structure, groundwater flow in the bedrock aquifer is not well mapped:

         “Groundwater flow is influenced by fractures sub-parallel to the unnamed fault and by
         intersecting joint sets, therefore it is interpreted that groundwater flow is most likely in
         the south and west direction. The near vertical fractures and faults may also influence
         groundwater flow onsite and offsite. In addition, tthe he pumping (and the termination of
         pumping) of potable wells is likely to have had an effect on groundwater flow” (Louis
         Berger Group, 2009b).
Site history: The site has operated as a car repair center and a gasoline vendor since 1984. According to the
consultant’s report (Louis Berger Group, 2009a
                                         2009a)) the underground gasoline storage tanks were placed in the
bedrock at the time of installation: “During construction, local bedrock was blasted and carved out to allow
for the installation of the Underground Sto
                                        Storage
                                           rage Tanks (UST) used to store gasoline.” As a result,
contamination from the USTs very likely entered the bedrock fractures.




Figure 4.3: Location of the ten Trial Sites at issue in this case relative to the Counties map of the State of
New Jersey.



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Nearby Receptors: In 1998, the Passaic County department of Health (DOH) conducted limited sampling
of residential wells nearby. MTBE and TBA contamination was discovered in 16 out of 18 domestic wells
sampled at the time. Another round of sampling conducted in the summer of 2004 by NJDEP, in
conjunction with the Ringwood Health Department, showed MTBE and TBA contamination in 29 out of 44
domestic wells in the area south and southwest of the site (Louis Berger Group, 2009b). As a result, “all
associated residents on potable wells moved to public water by spring 2005” (Louis Berger Group, 2009b).

Sampling of three monitoring bedrock wells conducted in 2009 shows MTBE contamination in one of the
wells (SCC01D) above the groundwater quality standard (GWQS) at all depth intervals (ranging from 45 to
195 feet bgs). Benzene was not detected in any of the intervals, in any of the three wells.

4.2 TS#2 Valero
The site, a Valero service station, is located at 436 Route 33 West, Manalapan, in the county of Monmouth.
The site has operated as a gasoline station since the 1950’s. Nearby topography is generally flat, with the
nearest surface water body (a tributary to Millstone River) is approximately 2,160 feet southwest of the
site.

Geology and Hydrology: Consultants’ report (Sovereign Consulting 2011) describes the local geology as
consisting primarily of unconsolidated deposits “consisting mostly of sand, quartz, and mica, fine gravel,
silty and clayey, massive to thick-bedded dark gray to medium gray clay.”

Groundwater at the site occurs at 10 to 12 feet bgs, and flows to the southeast. The depth to bedrock in the
area is unknown. The consultants’ report indicates a hydraulic conductivity of 5.75 – 9.59 ft/day (0.002 –
0.0034 cm/sec) was used in modeling the MTBE plumes. A seepage velocity of 26.2 – 44.6 ft/yr was
assumed, and the hydraulic gradient was estimated at 0.0038 ft/ft.

Site History: Based on a letter from the NJDEP, underground storage tanks were removed from the
property in 1995, but no closure report was submitted. The letter from the NJDEP (“Notice of Deficiency”)
dated June 2007, notes that a closure report was not submitted when fuel tanks were removed from the site
in 1995 (Sovereign Consulting 2011). The letter also notes:

         “failure to delineate the horizontal and vertical extent of contamination to the applicable
         remediation standard, including the extent to which contamination has migrated off the property…
         failure to delineate the vertical and horizontal extent of ground water contamination and the
         sources of ground water contamination, including free and residual product…
         failure to properly sample potable and supply wells which are suspected to be contaminated…”11
In 2005, piping connecting the dispensers to the underground storage tanks was upgraded. Soil samples
collected during the upgrade operation showed MTBE contamination. Further sampling indicated the
presence of other contaminants including TBA and BTEX. Groundwater monitoring was started in 2006
and was limited to 4 wells on site. In 2011 two additional monitoring wells were installed at the edge of the

11
     Bates stamp # SOVCON015069 and SOVCON015070

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